   Case: Case
         17-3679
              2:17-cv-04540-WB
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                       UNITED STATES COURT OF APPEALS
                            FOR THE THIRD CIRCUIT
                                 ___________

                                      No. 17-3679
                                      ___________

                      COMMONWEALTH OF PENNSYLVANIA

                                            v.

PRESIDENT UNITED STATES OF AMERICA; ACTING SECRETARY OF UNITED
STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES; UNITED STATES
  DEPARTMENT OF HEALTH AND HUMAN SERVICES; SECRETARY OF THE
     TREASURY; UNITED STATES DEPARTMENT OF THE TREASURY;
  SECRETARY UNITED STATES DEPARTMENT OF LABOR; UNITED STATES
                     DEPARTMENT OF LABOR

        LITTLE SISTERS OF THE POOR SAINTS PETER AND PAUL HOME

                                                      Appellant
                                      __________

                    On Appeal from the United States District Court
                        for the Eastern District of Pennsylvania
                                (D.C. No. 2-17-cv-4540)
                     District Judge: Honorable Wendy Beetlestone
                                     ___________

                             Argued March 23, 2018
               Before: HARDIMAN, BIBAS, and ROTH, Circuit Judges.

                                      __________

                                      JUDGMENT
                                      __________

        This cause came on to be heard on the record from the United States District Court
for the Eastern District of Pennsylvania and was argued on March 23, 2018.



        Pursuant to Fed. R. App. P. 12(a)
    Case: Case
          17-3679
               2:17-cv-04540-WB
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       On consideration whereof, it is now hereby ORDERED and ADJUDGED that the
order of the District Court entered December 8, 2017, be and the same is hereby
REVERSED and REMANDED. All of the above in accordance with the Opinion of this
Court. The mandate shall issue forthwith.

        No costs shall be taxed.

                                               Attest:


                                               s/ Patricia S. Dodszuweit
DATED: April 24, 2018                          Clerk




 Certified as a true copy and issued in lieu
 of a formal mandate on 04/24/18


Teste:
Clerk, U.S. Court of Appeals for the Third Circuit
